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                UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


WILLIAM C. TOTH, JR., et al,
              Plaintiffs,

                                            No. 1:22 Civ. 208 (JPW)
      v.

LEIGH M. CHAPMAN, in her official           Electronically Filed
capacity as Acting Secretary of the
Commonwealth; JESSICA MATHIS, in
her official capacity as Director for the
Pennsylvania Bureau of Election Services
and Notaries; and TOM WOLF, in his
official capacity as Governor of
Pennsylvania,

                  Defendants.




MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION
       TO DISMISS THE ELECTIONS CLAUSE CLAIMS
   IN THE SECOND AMENDED COMPLAINT PURSUANT TO
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1)




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                                       KAPLAN HECKER & FINK LLP

                                       Joshua Matz
                                       (admitted pro hac vice)
                                       1050 K Street NW | Suite 1040
                                       Washington, DC 20001
                                       Telephone: (929) 294-2537
                                       jmatz@kaplanhecker.com


                                       HANGLEY ARONCHICK SEGAL
                                       PUDLIN & SCHILLER
                                       Robert A. Wiygul (Pa. I.D. No.
                                       310760)
                                       Cary L. Rice (Pa. I.D. No. 325227)
                                       (admitted pro hac vice)
                                       John B. Hill (Pa. I.D. No. 328340)
                                       (admitted pro hac vice)
                                       One Logan Square, 27th Floor
                                       Philadelphia, PA 19103
                                       Tel: (215) 568-6200
                                       Fax: (215) 568-0300

                                       Marina Eisner
                                       (admitted pro hac vice)
                                       Christine P. Sun
                                       (admitted pro hac vice)
                                       States United Democracy Center
                                       1101 17th Street, NW
                                       Washington, DC 20036
                                       (240) 600-1316
                                       marina@statesuniteddemocracy.org
                                       (615) 574-9108
                                       christine@
                                       statesuniteddemocracy.org

                                       Michael J. Fischer (Pa. I.D. No.
                                       322311)
                                       (application for admission
                                       forthcoming)
                                       Aimee D. Thomson (Pa. I.D. No.
                                       326328)


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                                       (application for admission
                                       forthcoming)
                                       PENNSYLVANIA OFFICE OF
                                       ATTORNEY GENERAL
                                       1600 Arch Street, Suite 300
                                       Philadelphia, PA 19103
                                       mfischer@attorneygeneral.gov
                                       (215) 560-2171




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                                 INTRODUCTION

      As it has done many times before, the Supreme Court of Pennsylvania adopted

a map of congressional districts after the General Assembly and Governor were

unable to agree upon one. Now, on the eve of the 2022 primary election, Plaintiffs

allege that Defendants have violated the Elections Clause by implementing that map.

Plaintiffs demand that Pennsylvania depart from longstanding practice and instead

elect its entire congressional delegation on at-large, statewide basis. Rather than

burden a three-judge court with these meritless claims, the Court should exercise its

gatekeeping authority under 28 U.S.C. § 2284 and Shapiro v. McManus, 577 U.S.

39 (2015), to dismiss them as nonjusticiable. Plaintiffs lack standing and a cause of

action, and their claims are barred by laches and the Purcell principle. Plaintiffs have

separately alleged a one-person, one-vote challenge to the map adopted by the

Supreme Court of Pennsylvania. Defendants reserve all rights to contest that claim

but do not object to it being heard by a three-judge district court, which should

consider the issue without the distraction of nonjusticiable Elections Clause claims.1




1
  This brief addresses only justiciability arguments concerning Plaintiffs’ Elections
Clause claims. See Second Am. Compl. (“SAC”) ¶¶ 59-67. Defendants reserve all
rights to raise additional jurisdictional arguments—as well as arguments concerning
the merits of Plaintiffs claims (and whether Plaintiffs have stated claims upon which
relief can be granted)—if the Court does not dismiss on the grounds set forth herein.
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                                 BACKGROUND

      Pennsylvania lost a congressional seat in the 2020 decennial census. SAC ¶

14. The General Assembly and Governor have been unable to agree on a new

congressional map. Id. ¶¶ 17, 25. When the political branches are unable to agree,

“it becomes the judiciary’s role to ensure a valid districting scheme.” League of

Women Voters of Pennsylvania v. Commonwealth, 645 Pa. 576, 582 n.6 (2018). On

December 17, 2021, anticipating the need for judicial resolution, the Intervenor

Carter Petitioners filed suit in the Commonwealth Court. SAC ¶ 18.

      Three days later, the Commonwealth Court directed that “if the General

Assembly and the Governor fail to enact a congressional reapportionment plan by

January 30, 2022, the Court will select a plan from those plans timely filed by the

parties.” Carter v. Degraffenreid, No. 464 M.D. 2021, slip op. at 2 (Pa. Commw. Ct.

Dec. 20, 2021). In so doing, the court established a schedule for hearings, evidence,

and briefing, and directed that its order be served on leaders in the General

Assembly. Id. at 3. On January 14, 2022, Judge McCullough of the Commonwealth

Court reaffirmed that if the General Assembly “has not produced a new

congressional map by January 30, 2022, the Court shall proceed to issue an opinion

based on the hearing and evidence presented by the Parties.” SAC ¶ 24.

      By this point, it was crystal clear that the state courts would issue a map if the

political branches were unable to agree by January 30. When Governor Wolf vetoed


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the General Assembly’s proposed map on January 26, id. ¶ 25, a judicially drawn

map became a certainty. The Supreme Court of Pennsylvania therefore exercised

extraordinary jurisdiction on February 2, 2022. See Carter v. Chapman, No. 7 MM

2022, 2022 WL 304580, at *1 (Pa. Feb. 2, 2022) (explaining that this expedited

approach was warranted “[g]iven the impasse between the legislative and executive

branches concerning the adoption of congressional districts, and in view of the

impact that protracted appeals will have on the election calendar, and time being of

the essence . . .”). The exercise of extraordinary jurisdiction here was consistent with

Pennsylvania law past practice: “over the last six decades,” the Supreme Court of

Pennsylvania has exercised extraordinary jurisdiction “in every single case in which

the task of drawing Pennsylvania’s election districts has fallen to the judiciary.” Id.

at *3 (Dougherty, J., concurring) (collecting cases). To expedite proceedings, Judge

McCullough was designated as the Special Master and instructed to submit a report

and proposed map by February 7, 2022. See id. at 1. On February 9, 2022, the

Supreme Court of Pennsylvania also temporarily suspended the general election

calendar. SAC ¶ 40.

      On February 23, 2022, the Supreme Court of Pennsylvania issued an order

adopting the congressional map proposed by the Carter Intervenors. Carter v.

Chapman, No. 7 MM 2022, 2022 WL 549106, at *1 (Pa. Feb. 23, 2022). This order

vacated the earlier order temporarily suspending the calendar. See id. It also


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extended seven interim deadlines by a few days, including the first day to circulate

and file nomination petitions, which had been February 15 and (given the passage

of that date) was reset to February 25. Id. The calendar was otherwise left untouched.

Its original April and May deadlines and the General Primary Date remain. Id. at *2.

      Throughout these proceedings, the leadership of the General Assembly

repeatedly and affirmatively agreed that it was proper for the Supreme Court of

Pennsylvania to act. For instance, the Speaker and Majority Leader of the

Pennsylvania House of Representatives, joined by the President Pro Tempore and

Majority Leader of the Pennsylvania Senate, stated as follows:

      Officers of the General Assembly have argued in prior litigation . . .
      that the “Elections Clause” of Article I, section 4 of the U.S.
      Constitution forecloses state courts from enforcing state law against an
      act of the state’s legislature, or at least imposes limitations when they
      do so. The difference here is that the current congressional plan
      contravenes the U.S. Constitution, and it is settled law that state courts
      have authority to declare and remedy violations of the U.S.
      Constitution, even with respect to laws governing congressional
      elections. See Growe v. Emison, 507 U.S. 25, 32-36 (1993). Proposed
      Intervenors do not dispute that the Pennsylvania courts have the
      authority to adjudicate Petitioners’ claims for violations of the U.S.
      Constitution or other federal laws, and it appears that the state-law
      issues they raise implicate standards that duplicate federal standards.

Opp. to App. for Extraordinary Relief of Cutler et al. at 3 fn.2, No. 141 MM 2021

(Pa. Dec. 27, 2021). Those same legislative officials also expressly endorsed the

state courts’ power to modify the election schedule: “[I]n the past, those nominating

petition deadlines have been moved for Congressional elections, and therefore could


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still be moved in this election cycle.” Memo. of Law in Support of App. for Leave

to Intervene of Cutler et al., at ¶ 6, No. 464 MD 2021 (Pa. Dec. 27, 2021) (citing

Mellow v. Mitchell, 530 Pa. 44, 103 (1992)). When they later filed exceptions to

Judge McCullough’s Report and Recommendation, neither the House GOP

Intervenors nor the Senate GOP Intervenors objected to the state election calendar

changes she had proposed. See generally Br. of House Republican Intervenors in

Support of Judge McCullough’s Report and Recommendation, No. 7 MM 2022 (Pa.

Feb. 14, 2022); Senate Republican Intervenors’ Br. in Support of Report and

Recommendation of Special Master, No. 7 MM 2022 (Pa. Feb. 14, 2022).

                             STANDARD OF REVIEW

       When presented with a facial challenge under Rule 12(b)(1)—where the

movant contests jurisdiction without contesting the non-conclusory facts alleged in

the Complaint—the Court applies the same standard of review it would use in

considering a motion to dismiss under Rule 12(b)(6). See Nigro v. Pennsylvania

Higher Educ. Assistance Agency, No. 1:19 Civ. 2000, 2020 WL 5369980, at *5

(M.D. Pa. Sept. 8, 2020) (Wilson, J.). “A complaint must be dismissed under Fed.

R. Civ. P. 12(b)(6), if it does not allege ‘enough facts to state a claim to relief that is

plausible on its face.’” Johnson v. Mason, No. 1:19 Civ. 2217, 2020 WL 905578, at

*1 (M.D. Pa. Feb. 25, 2020) (Wilson, J.) (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007)).


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                                    ARGUMENT

   I.        PLAINTIFFS LACK STANDING

        Under Article III, the jurisdiction of the federal judiciary is confined to

“Cases” and “Controversies.” U.S. Const., art. III, § 2. To comply with Article III, a

plaintiff bears the burden of establishing that they have standing, which requires “(1)

an injury in fact, (2) a sufficient causal connection between the injury and the

conduct complained of, and (3) a likelihood that the injury will be redressed by a

favorable decision.” Finkelman v. Nat’l Football League, 810 F.3d 187, 193 (3d Cir.

2016). A plaintiff cannot rely upon a mere “generalized grievance” shared generally

with the public at large “in the proper application of the Constitution and laws.”

Lujan v. Defenders of Wildlife, 504 U.S. 555, 573 (1992). They must instead prove

they have suffered a “concrete” and “particularized” injury. Spokeo, Inc. v. Robins,

578 U.S. 330, 339 (2016). Here, accepting their non-conclusory allegations,

Plaintiffs fail that requirement as to their Elections Clause claims.

        A.     Plaintiffs’ Alleged Injuries as Voters Do Not Establish Standing

        Plaintiffs allege that they have been injured in their capacity as voters by

“defendants’ implementation of the unconstitutional Carter Plan and their refusal to

hold at-large elections for the state’s congressional delegation, as required by the

Elections Clause and 2 U.S.C. §2a(c)(5).” SAC ¶ 52. This claim rests on several

premises: first, that the order of the Supreme Court of Pennsylvania adopting a

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congressional map violates the Elections Clause; second, that Defendants are

violating the Elections Clause by implementing that order; and third, that Defendants

are thereby injuring Plaintiffs as voters by preventing them from casting ballots in

an at-large election.

      This theory is foreclosed by Supreme Court precedent. As noted above, to

support standing, a plaintiff’s injuries must be “concrete and particularized.” Susan

B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (citation omitted). To be

“particularized,” an injury must “affect the plaintiff in a personal and individual

way.” Spokeo, 578 U.S. at 339. The opposite of a particularized injury is a

generalized grievance, “shared in substantially equal measure by all or a large class

of citizens[.]” Warth v. Seldin, 422 U.S. 490, 499 (1975). Simply put, “a grievance

that amounts to nothing more than an abstract and generalized harm to a citizen’s

interest in the proper application of the law does not count as an ‘injury in fact.’”

Carney v. Adams, 141 S. Ct. 493, 498 (2020).

      In Lance v. Coffman, 549 U.S. 437 (2007), the Supreme Court applied those

principles to the Elections Clause in a manner that controls here. In Lance, a group

of Colorado voters filed suit to invalidate a Colorado redistricting plan for alleged

violations of the Elections Clause. See 549 U.S. at 438. They insisted that a plan

adopted by the state courts usurped the constitutional role of the state legislature. Id.

at 441. But the Supreme Court held that these voters lacked standing because they


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“assert[ed] no particularized stake in the litigation.” Id. at 442. “The only injury” the

plaintiffs asserted was “that the law—specifically the Elections Clause—[had] not

been followed.” Id. The Supreme Court held that this was “precisely the kind of

undifferentiated, generalized grievance about the conduct of government that we

have refused to countenance[.]” Id. Since Lance, courts have dismissed suits in

which plaintiffs sought to raise Elections Clause arguments in their capacity as

voters. See, e.g., Wood v. Raffensperger, 981 F.3d 1307, 1314 (11th Cir. 2020); King

v. Whitmer, 505 F. Supp. 3d 720, 735–36 (E.D. Mich. 2020). This Court should do

the same.

      Plaintiffs cannot escape Lance by citing 2 U.S.C. § 2a(c)(5), which (in their

view) entitles them as voters to cast ballots in an at-large election. First, the actual

injury they allege is traceable solely to Defendants’ supposed violations of the

Elections Clause. Second, 2 U.S.C. § 2a(c)(5) does not vest any rights, the

deprivation of which could constitute an injury: it merely offers a “a last-resort

remedy” to allow for an election to take place where “there is no time . . . to develop”

a single-member district plan. Branch v. Smith, 538 U.S. 254, 275 (2003); accord

id. at 285 (Stevens, J., concurring in part). Finally, even if Plaintiffs could trace an

injury to violations of 2 U.S.C. § 2a(c)(5), it too would be a generalized grievance,

since every voter in Pennsylvania could claim to be equally aggrieved. See Lance,




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549 U.S. at 442; Berg v. Obama, 586 F.3d 234, 240 (3d Cir. 2009) (voter lacked

standing where he shared his purported interest “pari passu with all voters”).

      B.     Plaintiffs Bashir and Bognet’s Alleged Injuries as Congressional
             Candidates Do Not Establish Standing

      Plaintiffs Bashir and Bognet are both congressional candidates. See SAC ¶¶ 7

& 8. They allege that they have been injured in that capacity because they are

“uncertain of how they should campaign.” Id. at ¶ 56. In particular, they believe that

Defendants’ implementation of the map adopted by the Supreme Court of

Pennsylvania creates a “substantial risk that a federal court or the Supreme Court of

the United States will declare the map unlawful after they have spent time and

resources campaigning in the court-drawn congressional districts.” Id. They also

complain that this “cloud of legal uncertainty” has made it harder to raise money. Id.

Finally, Plaintiff Bashir alone claims injury “because the Carter plan is forcing him

to run in a congressional district with a massive Democratic voter-registration

advantage, rather than in a statewide at-large election where the number of

Democratic and Republican voters are more evenly split.” Id. ¶ 55.

      These allegations fail as a matter of law. We address them in turn.

      First, Plaintiffs Bashir and Bognet have not alleged a proper injury based on

their own subjective anxiety that a federal court might someday invalidate the map

adopted by the Supreme Court of Pennsylvania. Article III would mean little in the

electoral setting if any candidate could show injury by claiming “uncertainty” about
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the outcome of potential future judicial review. That is not the law. In fact, the

Supreme Court has “repeatedly reiterated that ‘threatened injury must be certainly

impending to constitute injury in fact,’ and that ‘[a]llegations of possible future

injury’ are not sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013)

(citations omitted). The Supreme Court has also confirmed that a party cannot

demonstrate injury-in-fact by asserting that fear or uncertainty about non-imminent

future developments is affecting their present conduct: “Respondents cannot

manufacture standing merely by inflicting harm on themselves based on their fears

of hypothetical future harm that is not certainly impending.” Id. at 416 (collecting

cases). Here, it cannot be said that federal judicial invalidation of the map adopted

by the Supreme Court of Pennsylvania is “certainly impending.” Id. at 409. Only in

the rarest circumstance (if ever) could the result of federal judicial review of state

action be seen as sufficiently foreordained and unavoidable to constitute a “certainly

impending” injury. That standard is not met in this case.

      Second, any difficulties experienced by Plaintiffs Bashir and Bognet in raising

money do not give rise to standing. Here, too, Clapper states the law: “[W]e have

been reluctant to endorse standing theories that require guesswork as to how

independent decisionmakers will exercise their judgment.” 568 U.S. at 413. Federal

courts rarely accept theories of injury that depend on the reasons why third parties

(who are not before the court) might make complex decisions in the future. See, e.g.,


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Bennett v. Spear, 520 U.S. 154, 167 (1997) (“[T]he injury must be fairly traceable

to the challenged action of the defendant, and not the result of the independent action

of some third party not before the court.”). There are many reasons why someone

may, or may not, donate to a candidate. Just as a candidate cannot manufacture injury

by worrying that a map will be judicially invalidated, neither can a candidate claim

injury by asserting that their donors are worried that a map will be judicially

invalidated. See Vita Nuova, Inc. v. Azar, 458 F. Supp. 3d 546, 556-57 (N.D. Tex.

2020) (holding that “inhibition of fundraising efforts” due to uncertainty about the

legality of a regulation did not create injury-in-fact, since a plaintiff “may not

manufacture standing through the affidavits of potential donors withholding funds

when it cannot show a certainly impending future injury”).

      Third, Plaintiff Bashir has not alleged a cognizable injury by claiming that he

would prefer to compete in an at-large election rather than in his assigned

congressional district. This follows from the decision of a three-judge panel of this

Court in Corman v. Torres, which concluded that “[c]ase law strongly suggests that

a legislator has no legally cognizable interest in the composition of the district he or

she represents.” 287 F. Supp. 3d 558, 569 (M.D. Pa. 2018) (discussing cases).

Corman further reasoned that this asserted injury suffers from a closely related

traceability defect: “The cost of shifting district boundaries—in terms of both

campaign funding and constituent fealty—is surely appreciable. But [the plaintiffs]


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have identified no legal principle tethering that cost to a legally cognizable interest

in the composition of their electoral districts under the Elections Clause of the

Constitution.” Id. at 570. Both of those conclusions apply here. Moreover, under

Clapper, the mere possibility that Plaintiff Bashir will face more advantageous odds

in an at-large election does not render any injury from adoption of the Carter map

“certainly impending.” 568 U.S. at 409. In this nation, voters should choose their

representatives—not the other way around—and candidates have no protected

interest in determining their own districts.

      Finally, as Corman held, it is particularly improper to endorse expansive

standing theories for the Elections Clause, which “affirmatively grants rights to state

legislatures, and under Supreme Court precedent, to other entities to which a state

may, consistent with the Constitution, delegate lawmaking authority.” 287 F. Supp.

3d at 573; see also Arizona State Legislature v. Arizona Indep. Redistricting

Comm’n, 576 U.S. 787, 800-802 (2015). Because this constitutional provision exists

to define the prerogatives of state legislatures, the proper party to assert an injury

from alleged violations of the Elections Clauses will generally be the legislature

itself. See id. (“As far as we can tell on this record, the Elections Clause claims

asserted in the verified complaint belong, if they belong to anyone, only to the

Pennsylvania General Assembly.”); King, 505 F. Supp. 3d at 736. In an opinion that

has since been vacated on procedural grounds, Judge Smith offered a thorough


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analysis of this point. See Bognet v. Sec’y Commonwealth of Pennsylvania, 980 F.3d

336, 350 (3d Cir. 2020), cert. granted, judgment vacated sub nom. Bognet v.

Degraffenreid, 141 S. Ct. 2508 (2021) (“Because Plaintiffs are not the General

Assembly, nor do they bear any conceivable relationship to state lawmaking

processes, they lack standing to sue over the alleged usurpation of the General

Assembly’s rights under the Elections and Electors Clauses.”). Here, the leaders of

the General Assembly recognized the power of the Supreme Court of Pennsylvania

to adopt a map and modify the election schedule; third parties should not be allowed

to coopt and direct the constitutional interests of the General Assembly.

      C.     Plaintiff Alan M. Hall’s Alleged Injuries as a Member of the
             Susquehanna County Board of Elections Do Not Establish
             Standing

      Plaintiff Alan M. Hall, a member of the Susquehanna County Board of

Elections, alleges two forms of injury, neither of which withstands scrutiny. He first

alleges that Defendants are injuring him by forcing him to implement an

unconstitutional order in violation of his oath of office. SAC ¶ 57. This theory of

standing would allow any official charged with implementing any statute or rule to

challenge it on any ground—and has been rejected by many courts. See, e.g., Crane

v. Johnson, 783 F.3d 244, 253 (5th Cir. 2015) (“[T]he violation of one’s oath alone

is an insufficient injury to support standing.”); City of S. Lake Tahoe v. California

Tahoe Reg’l Plan. Agency, 625 F.2d 231, 237 (9th Cir. 1980); but see Bd. of Ed. of


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Cent. Sch. Dist. No. 1 v. Allen, 392 U.S. 236, 241 n.5 (1968). Second, he alleges that

he will have to complete his duties on a faster schedule. SAC ¶ 58. But we are aware

of no case holding that it ranks as Article III injury-in-fact for a government official

to have do their job while implementing a valid court order. It is particularly unlikely

that a single member of a county board of elections could have standing on such a

theory, since any potential burden would accrue to the board in an institutional

capacity rather than to its individual members. Cf. Va. House of Delegates v.

Bethune-Hill, 139 S. Ct. 1945, 1953 (2019) (“Individual members lack standing to

assert the institutional interests of a legislature.”).

       Independently, for the reasons given above, Plaintiff Hall is not an appropriate

party to assert injury-in-fact under the Elections Clause, which exists to protect the

prerogatives of state legislatures. See Corman, 287 F. Supp. 3d at 573 (indicating

that Elections Clause claims belong “if they belong to anyone, only to the

Pennsylvania General Assembly”).

       D.     Plaintiffs Have Not Established Causation or Redressability

       In addition to their failure to establish a cognizable injury, Plaintiffs have not

met the other elements of Article III standing. To demonstrate causation, the injury

alleged must be “fairly traceable to the challenged action of the defendant, and not

the result of the independent action of some third party not before the court.”

Finkelman, 810 F.3d at 193. To demonstrate redressability, Plaintiffs must show that

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“it is ‘likely, as opposed to merely speculative,’ that the alleged injury will be

redressed by a favorable decision.” Id. at 194.

      At bottom, Plaintiffs complain that Defendants’ adherence to the map adopted

by the Supreme Court of Pennsylvania has injured them (and caused them and their

donors uncertainty) by preventing at-large elections under 2 U.S.C. § 2a(c)(5). But

this argument rests on speculation and counterfactual reasoning. In Branch v. Smith,

the Supreme Court rejected the interpretation of 2 U.S.C. § 2a(c)(5) that Plaintiffs

advance here, holding instead that 2 U.S.C. § 2c (which was enacted later in time)

still “requires courts, when they are remedying a failure to redistrict constitutionally,

to draw single-member districts whenever possible.” 538 U.S. at 270. Recounting a

long history of state and federal court intervention, Branch emphasized that 2 U.S.C.

§ 2c “embraces action by state and federal courts when the prescribed legislative

action has not been forthcoming.” Id. at 272. Thus, even if the Carter map were

enjoined, it remains unlikely that Pennsylvania will actually hold an at-large election

for congressional seats in 2022. And to the extent Plaintiffs’ alleged injuries arise

from uncertainty about the election (which they have themselves caused by filing

this case), it is not substantially likely that engineering a massive disruption to the

method of congressional selection at this late stage will reduce uncertainty. For these

reasons—and given their lack of a cognizable injury—Plaintiffs lack Article III

standing.


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   II.      PLAINTIFFS LACK A CAUSE OF ACTION

         Dismissal is separately required because Plaintiffs lack a private right of

action. As Judge Mazzant has reasoned, because the Elections Clause “does not

speak to individual rights” and instead “outlines a structural principle of the

American system of federalism,” “no cause of action based solely on the text of the

Elections Clause exists for [plaintiffs] to plead.” Tex. Voters All. v. Dallas County,

495 F. Supp. 3d 441, 462 (E.D. Tex. 2020). As a fallback, Plaintiffs may seek to rely

on a cause of action in equity to pursue their Elections Clause claim. To do so,

however, they must demonstrate that they fall within the zone of interests of that

constitutional provision. See Maher Terminals, LLC v. Port Auth., 805 F.3d 98, 105

(3d Cir. 2015). For the reasons given above, Plaintiffs do not satisfy that

requirement: the Elections Clause exists to clarify the role of the state legislative

process in federal elections—and to balance power between Congress and state

legislatures—and so its interests belong to state legislative bodies rather than private

plaintiffs. See, e.g., Corman, 287 F. Supp. 3d at 573; King, 505 F. Supp. 3d at 736;

Georgia Voter All. v. Fulton Cty., 499 F. Supp. 3d 1250, 1255 (N.D. Ga. 2020)

(“[T]he Elections Clause does not, on its own, provide Plaintiffs with a basis to sue

Fulton County.”). Further, given the significant federalism and separation of powers

concerns at play here, it would not be “proper,” Armstrong v. Exceptional Child Ctr.,

Inc., 575 U.S. 320, 327 (2015), or consistent with traditions of equity, see Grupo


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Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S. 308, 319 (1999), to

imply the expansive cause of action that Plaintiffs seek to invoke.

      Plaintiffs’ glancing invocation of 42 U.S.C. § 1983 does not cure this

infirmity. Section 1983 “merely provides a mechanism for enforcing individual

rights ‘secured’ elsewhere.” Gonzaga Univ. v. Doe, 536 U.S. 273, 285 (2002). The

same holds true for the Declaratory Judgment Act, which establishes a procedural

mechanism to vindicate substantive rights found elsewhere. See Medtronic, Inc. v.

Mirowski Fam. Ventures, LLC, 571 U.S. 191, 199 (2014). The Elections Clause is

not itself a source of individual rights enforceable through these provisions. And to

the extent Plaintiffs cite § 2a(c)(5), the Supreme Court has already held that it creates

only a remedy, not a right. See Branch, 538 U.S. at 275 (plurality opinion); accord

id. at 300 (O’Connor, J., concurring in part and dissenting in part) (“Sections 2a(c)

and 2c do not create independently enforceable private rights of action

themselves.”). Thus, Plaintiffs’ Elections Clause claims should be dismissed.

   III.     PLAINTIFFS SEEK RELIEF PRECLUDED BY LACHES AND
            PURCELL

      A final basis for dismissal is that Plaintiffs unreasonably and prejudicially

delayed in filing suit. “Call it what you will—laches, the Purcell principle, or

common sense—the idea is that courts will not disrupt imminent elections absent a

powerful reason for doing so.” Crookston v. Johnson, 841 F.3d 396, 398 (6th Cir.

2016) (Sutton, J.). As Justice Kavanaugh has explained, “federal courts ordinarily
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should not alter state election laws in the period close to an election”—even if those

rules are flawed—since that risks confusing voters, sowing doubt about election

results, and inviting further late-in-the-day litigation. Democratic Nat’l Comm. v.

Wisconsin State Legislature, No. 20A66, 2020 WL 6275871, at *3 (U.S. Oct. 26,

2020) (Kavanaugh, J., concurring); accord Purcell v. Gonzalez, 549 U.S. 1 (2006).

Those concerns are especially stark here. Plaintiffs’ stated goal is to force at-large

elections, which on their own flawed theory would occur only if the congressional

map were invalidated without enough time for state or federal courts (or the state

legislative process) to fashion new districts. In other words, Plaintiffs’ whole

strategy depends on springing a legal attack too late for any alternative remedy.

      That strategy should not be condoned. As explained above, when Governor

Wolf vetoed the General Assembly’s proposed map on January 26, it became a

virtual certainty that the state courts would adopt a congressional map. This was

clear from Judge McCullough’s December 20 order, which she reaffirmed on

January 14. Nonetheless, rather than file suit on January 26 or shortly thereafter (for

instance, on February 2, when the Supreme Court of Pennsylvania exercised

extraordinary jurisdiction), Plaintiffs waited until February 11 to file suit—and then,

remarkably, waited until February 20 to seek “emergency” relief. As evidenced by

the fact that Plaintiffs filed suit before the Supreme Court of Pennsylvania even

adopted a map, their theory in seeking such relief under the Elections Clause had


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nothing to do with which map was selected. Instead, their Elections Clause theory

was (and remains) that it was unconstitutional from the very outset for any state court

to adopt a map, even if the General Assembly and Governor reach an impasse. On

that (mistaken) view, the moment Judge McCullough announced her intent to adopt

a map—or, at least, the day Governor Wolf announced his veto—Plaintiffs should

have rushed to court. But instead, they waited weeks to file suit and then waited nine

more days to seek interim relief.

      This delay was as inexcusable as it was prejudicial: when it comes to the

election calendar, every day between January 26 and February 20 is significant.

Indeed, by waiting as long as they did, Plaintiffs did not even seek relief until after

the first day to circulate and file nomination petitions (February 15) had already

passed. See 25 Pa. Cons. Stat. § 2868. (Of course, this moots at least part of their

request that the Court re-impose the statutory election calendar.)

      Even more problematically, Plaintiffs’ delay appears to have been calculated.

Their legal theory would fail on its own terms if they sued earlier, since there would

still be time for state or federal courts to redistrict under 2 U.S.C. § 2c (or for the

political branches to re-engage). Thus, Plaintiffs could achieve their stated goals

only by attempting to explode the map with no time left on the clock. Accepting that

strategy would be an invitation to mischief and chaos in future elections—and would

involve federal courts in heated, late-stage partisan controversy. See Rucho v.


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Common Cause, 139 S. Ct. 2484, 2507 (2019) (refusing an “expansion of judicial

authority” into “one of the most intensely partisan aspects of American political

life”); see also Merrill v. Milligan, 142 S. Ct. 879, 880-81 (2022) (Kavanaugh, J.,

concurring in grant of applications for stays) (“When an election is close at hand,

the rules of the road must be clear and settled. Late judicial tinkering with election

laws can lead to disruption and to unanticipated and unfair consequences for

candidates, political parties, and voters, among others. It is one thing for a State on

its own to toy with its election laws close to a State’s elections. But it is quite another

thing for a federal court to swoop in and re-do a State’s election laws in the period

close to an election.”).




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                                CONCLUSION

      For the foregoing reasons, the Elections Clause claims alleged in the Second

Amended Complaint should be dismissed.2



Dated:        March 1, 2022                       Respectfully submitted,



                                                  /s/ Joshua Matz
                                                  KAPLAN HECKER & FINK LLP

                                                  Joshua Matz
                                                  (admitted pro hac vice)
                                                  1050 K Street NW | Suite 1040
                                                  Washington, DC 20001
                                                  Telephone: (929) 294-2537
                                                  jmatz@kaplanhecker.com

                                                  HANGLEY ARONCHICK SEGAL
                                                  PUDLIN & SCHILLER
                                                  Robert A. Wiygul (Pa. I.D. No.
                                                  310760)
                                                  Cary L. Rice (Pa. I.D. No. 325227)
                                                  (admitted pro hac vice)
                                                  John B. Hill (Pa. I.D. No. 328340)
                                                  (admitted pro hac vice)
                                                  One Logan Square, 27th Floor
                                                  Philadelphia, PA 19103
                                                  Tel: (215) 568-6200
                                                  Fax: (215) 568-0300

                                                  Marina Eisner
                                                  (admitted pro hac vice)
                                                  Christine P. Sun
                                                  (admitted pro hac vice)

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  Defendants would consent—in the event of dismissal—to the entry of partial final
judgment under Rule 54(b) on Plaintiffs’ Elections Clause claims.
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                                        States United Democracy Center
                                        1101 17th Street, NW
                                        Washington, DC 20036
                                        (240) 600-1316
                                        marina@statesuniteddemocracy.org
                                        (615) 574-9108
                                        christine@
                                        statesuniteddemocracy.org

                                        Michael J. Fischer (Pa. I.D. No.
                                        322311)
                                        (application for admission
                                        forthcoming)
                                        Aimee D. Thomson (Pa. I.D. No.
                                        326328)
                                        (application for admission
                                        forthcoming)
                                        PENNSYLVANIA OFFICE OF
                                        ATTORNEY GENERAL
                                        1600 Arch Street, Suite 300
                                        Philadelphia, PA 19103
                                        mfischer@attorneygeneral.gov
                                        (215) 560-2171

                                        Counsel for Defendants




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                          Certification of Word Count

      Pursuant to Local Rule 7.8, I certify that this brief contains 4,997 words and

thus complies with the 5,000 word limitation.



Dated:        March 1, 2022                        /s/ Joshua Matz
                                                   Joshua Matz




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                         CERTIFICATE OF SERVICE


I hereby certify that on this 1st day of March 2022, a true and correct copy of the
foregoing was served upon all counsel of record via the court’s CM/ECF electronic
filing system.


                                                        /s/Joshua Matz
